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                                                                                             /s/
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                               AFFIDAVIT
     I, Michael Greene, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION
     1.   I am a member of the Fullerton Police Department

(“FPD”) and I am assigned to the FBI’s Orange County Violent

Gang Task Force (“OCVGTF”) as a Task Force Officer (“TFO”).           The

OCVGTF is comprised of federal and local law enforcement

agencies, including but not limited to, the FBI, the Internal

Revenue Service-Criminal Investigations, ATF, FPD, Anaheim

Police Department, Santa Ana Police Department, and the Orange

County Probation Department. The OCVGTF is responsible for,

among other things, investigating violations of federal law

committed by criminal street gangs, the Mexican Mafia, and other

violent criminal organizations in Orange County.         As a TFO, I am

an “investigative or law enforcement officer of the United

States” within the meaning of 18 U.S.C. § 2510(7), and am

empowered by law to conduct investigations of and to make

arrests for offenses enumerated in Section 2516 of Title 18,

United States Code.

     2.   I have been employed as a police officer for ten

years. I began my career with the Downey Police Department in

2010. I was employed as a police officer and worked patrol, as

a bike patrol officer and on the Crime Impact Team. I have been

a police officer with FPD for seven years. In addition to my

task force assignment, my assignments with the FPD have included




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patrol, Field Training Officer, Special Weapons and Tactics Team

member, Directed Enforcement Team, Drug Recognition Expert, and

Gang Unit Detective.

     3.    As a member of the FPD Gang Unit, I have investigated

gang related crimes which include homicide, assault with a

deadly weapon, major assaults, drug distribution, witness

intimidation, weapon possession, auto theft, robbery, burglary,

and vandalism.   During the course of my ten-year career, I have

participated in approximately 50 surveillance operations,

authored multiple search warrants including state wire taps and

pen registers, managed informants, monitored electronic

surveillance operations, and participated in numerous controlled

purchases of drugs and firearms. Additionally, I have testified

in both state and federal courts.

     4.    I have taken numerous classes related to gangs, drug

use, drug distribution, and manufacturing of drugs. I attended

80 hours of instruction in basic narcotics investigation while

at the Orange County Sheriff’s academy. I have attended an 80-

hour Drug Recognition Expert training course sponsored by the

California Highway Patrol and was previously a Drug Recognition

Expert.    I have attended courses offered by the State of

California regarding the investigative use of wiretaps and the

interception of wire and electronic communications.          I am a

member of the National Tactical Officer Association and Orange

County Gang Investigators Association. I have spoken to gang

members who have told me of the manner in which they plan and

commit their crimes and attempt to avoid detection and


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apprehension.    I have also monitored street gang activity in the

three cities of Fullerton and Downey by identifying and

establishing street gang boundaries via graffiti.         I have taken

statements from admitted gang members and associates also with

crime reports indicating gang crimes and gang violence in

affected areas.    I have worked to identify street gang members,

associations, and rivalries via admissions, statements, gang

tattoos, and clothing along with the crimes which they commit.

                       II.PURPOSE OF AFFIDAVIT
     5.     This affidavit is made in support of a criminal

complaint against, and arrest warrant for, ANTHONY HOLMES

(“HOLMES”) for a violation of 18 U.S.C. § 922(g)(1) (felon in

possession of a firearm).

     6.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all of my knowledge of

or investigation into this matter.        Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                   III. STATEMENT OF PROBABLE CAUSE
     7.     Based on my review of a recorded 911 call, Garden

Grove Police Department (“GGPD”) radio dispatch traffic, body

worn camera footage, a report prepared by GGPD Officer Gianlucca




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Maniaci, photographs, and a written statement made by HOLMES, I

learned the following:

            a.     On January 24, 2021, Garden Grove police officers

responded to Target, near the intersection of Harbor Boulevard

and Chapman Avenue, in Garden Grove, California as a result of a

911 call.    The 911 caller reported that he had been confronted

by two Hispanic males, one of whom had his hand on his hip as if

armed.1   The 911 caller felt threatened and believed the man had

been armed.       The 911 caller described the male who appeared

armed as having face tattoos, among other descriptors.          The men

were in a red SUV.

            b.     When Officer Maniaci arrived at the scene and met

the 911 caller, the 911 caller further explained that he was

aggressively approached by a Hispanic male with face tattoos.

He was wearing a bandana and black jacket with white stripes.

As the man approached, the man had his hand in his right jacket

pocket, near his waistband, as if he was carrying a handgun.

The man asked the 911 caller, “Where you from?”         The 911 caller

was scared because he believed the suspect was armed.

                    i.   In my experience, I know gang members from

southern California often pose the question “Where you from?”

while contacting those who may be rival gang members.          When a

gang member asks another rival gang member “Where you from?” the

answer often results in violent assaults, robberies, and even

homicide.

     1 I reviewed the criminal history of the 911 caller and
learned that he had a 2002 burglary conviction, for which he was
sentenced to three years’ probation and 20 days’ jail.

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           c.   When Officer Maniaci asked the 911 caller whether

the red SUV was still in the parking lot, the 911 caller

directed Officer Maniaci to a red SUV in front of Target, which

another GGPD patrol car had identified and was shining a

spotlight on.

           d.   GGPD Officer Valencia had responded to Target and

located a vehicle which matched the suspect vehicle description

parked in a stall in the parking lot.2       Officer Valencia got out

of his patrol vehicle and contacted the occupants of the

vehicle.   HOLMES, who has facial tattoos, was in the driver’s

seat.3   A second man, later identified as Anthony Saucedo, was in

the backseat.4   Officer Valencia observed Saucedo moving around

in the back seat as if to hide from view or conceal something.

Officer Valencia observed that the other adult occupants he

could see also appeared surprised and were moving their hands

around inside the vehicle.     In addition to HOLMES and Saucedo,

two women were in the car: Saline Quintanar in the front

passenger seat and Jade Jordan in the back seat.         There were
also several small children in the back seat.




     2 The vehicle had a bullet hole through the front
windshield.
     3 I am familiar with HOLMES and know him to be a Fullerton
Tokers Town gang member with a moniker of “Spanky”. I spoke to
CDC Parole Officer Xavier Tong who confirmed HOLMES was on
parole with search and seizure conditions when the events
described above occurred.
     4 I am familiar with Saucedo and know him to be a Fullerton
Tokers Town gang member with a moniker of “Lil Popeye.” Officer
Tong confirmed Saucedo was on parole with search and seizure
conditions when the events described above occurred.

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             e.   Officer Valencia ordered the occupants out of the

vehicle.    Before Jordan got out of the vehicle, she handed

Officer Valencia her purse, which Officer Valencia handed to

Officer Maniaci who placed it on the ground near the vehicle.

             f.   GGPD Officer Jeff Nguyen had arrived at Target

and advised Officer Maniaci that HOLMES was on active parole.

Officer Maniaci requested consent to search the vehicle from

HOLMES.     HOLMES responded, “I am on parole, so.”      When Officer

Maniaci asked, “You good if we through there?,” HOLMES

responded, “No, I ain’t trippin’, it’s not my car though.”

HOLMES said the vehicle belonged to QUINTANAR.

             g.   GPPD officers searched the Traverse as well as

the purse Jordan had been holding in the backseat.         In the

purse, Officer Maniaci located a tan make-up bag that appeared

too heavy to contain make-up.      Inside of the make-up bag was a

loaded Taurus .357 Magnum revolver, bearing serial number

D011956.5    Officers also discovered small amounts of controlled

substances and controlled substance paraphernalia.         HOLMES,

Saucedo, Quintanar, and Jordan were placed under arrest.

             h.   When HOLMES was booked in the GGPD jail, Officer

Nguyen read HOLMES his Miranda rights and asked HOLMES whether

he wanted to make a statement.      HOLMES indicated he understood

his rights and that he wanted to make a statement.         HOLMES

explained that while he was coming down from heroin, he observed


     5 Based on my training and experience, and my conversations
with other experienced law enforcement officers, I know that
Taurus handguns are manufactured in Brazil and imported into the
United States through Florida.

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an armored vehicle in the Target parking lot.        He then hid the

gun in Jordan’s purse, which was on the floorboard behind his

seat.     HOLMES said the firearm was a .357 caliber revolver and

that it was loaded.      He said he purchased it for $600 but did

not know whether it was stolen.       When Officer Nguyen asked

HOLMES whether he confronted anyone in the Target parking lot,

HOLMES admitted to contacting someone and asking where he was

from.     HOLMES claimed he was not armed at the time.

              i.   HOLMES told Officer Nguyen he wanted to prepare a

written statement.      The statement said, in pertinent part:

“. . . no one knew that I was carrying a firearm.         I placed this

firearm in the backseat of car in a womans purse.         A 357

calliber was the weapon.      It was fully loaded.     Im taking full

responsibility for this firearm being in my possession . . .”

HOLMES signed the statement.

        8.   I reviewed a report of HOLMES’s criminal record and

learned that HOLMES has the following prior felony convictions:

              a.   Prohibited person possess or own ammunition, in

violation of California Penal Code Section 30305(A)(1), in the

Superior Court of the State of California, County of Orange,

case number 13NF1598, on or about June 17, 2013;

              b.   Possession of a controlled substance, in

violation of California Health and Safety Code Section 11377(A),

in the Superior Court of the State of California, County of

Orange, case number 13NF3394, on or about December 20, 2013;

              c.   Robbery, in violation of California Penal Code

Section 211-212.5(c), in the Superior Court of the State of


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California, County of Orange, case number 14NF3610, on or about

September 3, 2015;

           d.   Possession For Sale of Narcotics, in violation of

California Health and Safety Code Section 11351, in the Superior

Court of the State of California, County of Orange, case number

20WF2222, on or about October 26, 2020; and,

           e.   Possession For Sale of Controlled Substance, in

violation of California Health and Safety Code Section 11378,

and prohibited person possess or own ammunition, in violation of

California Penal Code Section 30305(A)(1), in the Superior Court

of the State of California, County of Orange, case number

20WF2222, on or about October 26, 2020.

                             IV.CONCLUSION
     9.   For all the reasons described above, there is probable

cause to believe that HOLMES has committed a violation of 18

U.S.C. § 922(g)(1) (felon in possession of a firearm).



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                  8th day of
telephone on this ____
February, 2021.



HONORABLE KAREN E. SCOTT
UNITED STATES MAGISTRATE JUDGE




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